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                United States Court of Appeals
                            FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                     ____________
No. 23-3228                                                September Term, 2023
                                                                    1:23-cr-00257-TSC-1
                                                       Filed On: December 18, 2023
United States of America,

             Appellee

      v.

Donald J. Trump,

             Appellant

      BEFORE:       Henderson*, Childs, and Pan, Circuit Judges

                                        ORDER

     It is ORDERED, on the court’s own motion, that this case be scheduled for oral
argument in Courtroom 31 at 9:30 a.m. on Tuesday, January 9, 2024.

      A separate order will be issued regarding the allocation of time for argument.

                                       Per Curiam


                                                         FOR THE COURT:
                                                         Mark J. Langer, Clerk

                                                 BY:     /s/
                                                         Michael C. McGrail
                                                         Deputy Clerk



* Judge Henderson would stay any further action by this court until the United States
Supreme Court has taken final action on the Government’s Petition for Certiorari before
Judgment now pending before it in this case.



The following forms and notices are available on the Court’s website:

      Memorandum to Counsel Concerning Cases Set for Oral Argument (Form 71)
